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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
C.D., by and through her PARENTS and NEXT     )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                   )
                      Plaintiffs,             )
                                              )
    v.                                        )     Civ. Action No. 15-13617-FDS
                                              )
NATICK PUBLIC SCHOOL DISTRICT,                )
and BUREAU OF SPECIAL EDUCATION               )
APPEALS,                                      )
       Defendants.                            )
__________________________________________)

                 NOTICE OF FILING OF ADMINISTRATIVE RECORD

       Pursuant to Local Rule 5.4(G), notice is hereby given that the Administrative Record of

the proceedings before the Bureau of Special Education Appeals (“BSEA”), consisting of 8

volumes, has been manually filed with the Court. Copies of the Administrative Record were

mailed to all parties on April 20, 2016. Pursuant to this Court’s Order dated April 5, 2016, the

Administrative Record was filed under seal.

                                                     Respectfully submitted,

                                                     BUREAU OF SPECIAL EDUCATION
                                                     APPEALS

                                                     By its attorney,

                                                     MAURA HEALEY
                                                     ATTORNEY GENERAL

                                                     /s/ Iraida J. Álvarez__________________
                                                     Iraida J. Álvarez, BBO # 647521
                                                     Assistant Attorney General
                                                     Government Bureau
                                                     One Ashburton Place
                                                     Boston, Massachusetts 02108
                                                     (617) 963-2037
Dated: April 20, 2016
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the above document was filed through the Electronic Case Filing
(ECF) system on April 20, 2016, and thus copies will be sent electronically to the registered
participants as identified on the Court’s Notice of Electronic Filing (NEF); paper copies will be
served by first-class mail, postage pre-paid, to those indicated on the NEF as non-registered
participants.

                                                     /s/ Iraida J. Álvarez
                                                     Iraida J. Álvarez
